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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

 CORY MCDONALD, individually
 and on behalf of all others similarly
 situated,

                      Plaintiff,

 v.                                                 Case No. CIV-18-1010-G

 GORE NITROGEN PUMPING
 SERVICE, LLC et al.,

                      Defendants.

      DEFENDANTS’ NOTICE OF SERVICE OF RULE 26(a) DISCLOSURES

       Defendants, Gore Nitrogen Pumping Service, LLC and Gary Gore, by and through

their counsel of record, state Defendants’ Rule 26(a) Disclosures were served on Plaintiff’s

counsel of record on March 1, 2019, via electronic mail.

                                                 Respectfully submitted,

                                                 /s/ Brock Z. Pittman
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                             CERTIFICATE OF SERVICE

      This shall certify that on this 1st day of March, 2019, a true and correct copy of the
above and foregoing was sent electronically to the Clerk of the Court using the CM/ECF
System and transmittal of a Notice of Electronic Filing to the following counsel registered
for ECF in this case:

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                                                   /s/ Brock Z. Pittman
                                                   Brock Z. Pittman




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